                                      Case 8:19-cv-01528-JVS-DFM Document 201 Filed 10/19/21 Page 1 of 6 Page ID #:8925



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                                            HONEY BAKED HAM INC.
                                          9
                                                                  UNITED STATES DISTRICT COURT
                                         10
                                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
Santa Monica, California 90401-2386
  Bryan Cave Leighton Paisner LLP




                                         11
                                                                         SOUTHERN DIVISION
      120 Broadway, Suite 300




                                         12
                                         13 HONEY BAKED HAM INC.,                         Case No.:8:19-cv-01528-JVS (DFMx)

                                         14                         Plaintiff/Counterclaim       Judge: Hon. James V. Selna
                                                                    Defendant,                   HONEY BAKED HAM INC.’S
                                         15                                                      REQUEST FOR ORAL
                                                        v.                                       ARGUMENT REGARDING
                                         16                                                      SUMMARY JUDGMENT AS TO:
                                               HONEY BAKED HAM COMPANY
                                         17    LLC, et al.,                                      (1)    Counterclaim Counts XI and
                                         18                                                             XII (Declaratory Relief
                                                                    Defendants/Counterclai              regarding Termination);
                                         19                         m Plaintiffs.
                                                                                                 (2)    Second Amended Complaint
                                         20                                                             Counts I, II, and III
                                                                                                        (Collateral Rights); and
                                         21                                                      (3)    Counterclaim Counts V, VIII
                                         22                                                             and X (Domain Name)

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                                              USA.604335669.5/J9L
                                                                       HONEY BAKED HAM INC.’S REQUEST FOR ORAL ARGUMENT
                                  Case 8:19-cv-01528-JVS-DFM Document 201 Filed 10/19/21 Page 2 of 6 Page ID #:8926



                                      1 I. Counterclaim Counts XI and XII (Declaratory Relief regarding Termination)
                                      2            The Tentative defers consideration of the franchise termination issue until a
                                      3 determination of the fact issues on breach of contract, citing the right to decline to
                                      4 consider declaratory judgment, even where there is a justiciable controversy. [Tentative,
                                      5 at p. 18.] At trial, there would be no right to an immediate termination as of March of
                                      6 2020 because there was no notice of immediate termination. There could be no right to
                                      7 terminate with a right to cure at trial, because there has never been a statutorily
                                      8 compliant notice to cure.
                                      9            There are two ways a franchise may be terminated under the California Franchise
                                     10 Relations Act. Business & Professions Code § 20021 allows for an “immediate notice of
                                     11 termination.” (Emphasis added). “In order to terminate a franchise without an
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                                     12 opportunity to cure, the franchisor must provide ‘immediate notice of
                                     13 termination.’” Tikiz Franchising, LLC v. Piddington, 2017 WL 8780761, at *8 (S.D. Fla.
                                     14 Aug. 1, 2017) (applying the CFRA) (emphasis added). Count XII should be dismissed
                                     15 now because it is undisputed that there was never an immediate notice of termination.
                                     16            Alternatively, a franchise may be terminated by providing a formal notice with an
                                     17 opportunity to cure, stating the specific date of termination if there is no substantial
                                     18 compliance. See Bus. & Prof. Code §§ 20020, 20030. “[T]he CFRA requires a notice of
                                     19 termination regardless of whether the franchisor terminates the agreement with or
                                     20 without the opportunity to cure.” Tikiz, 2017 WL 8780761, at *8.
                                     21            Honey Baked USA expressly conceded in its Opposition that the “Plaintiff has
                                     22 received no notice of termination, compliant or otherwise….” [Dkt. 194, 2:11-13
                                     23 (emphasis in original).] A formal notice of termination is a prerequisite to a right to
                                     24 terminate because a franchisor cannot terminate on grounds that were not stated in the
                                     25 notice of termination. See Am. Isuzu Motors, Inc. v. New Motor Vehicle Bd., 186 Cal. App.
                                     26 3d 464, 477 (1986) (franchisor is limited to the grounds stated in the notice to
                                     27 terminate).
                                     28            As this Court ruled five months ago, where there is a right to cure and it is
                                          USA.604335669.5/J9L                          1
                                                                HONEY BAKED HAM INC.’S REQUEST FOR ORAL ARGUMENT
                                  Case 8:19-cv-01528-JVS-DFM Document 201 Filed 10/19/21 Page 3 of 6 Page ID #:8927



                                      1 uncontested that no such right was given, summary adjudication is warranted. See Store
                                      2 SPE LA Fitness Int’l, LLC, 2021 WL 3285036 (C.D. Cal. June 30, 2021) (in the context
                                      3 of a commercial lease). The mandatory notices under the protective Franchise
                                      4 Relations Act ensure that a franchisee has clear notice that its franchise is in jeopardy,
                                      5 what must be done to avert termination, and the effective date of termination. Here,
                                      6 termination hangs like the Sword of Damocles over Honey Baked California, but it
                                      7 shouldn’t because no statutorily-compliant notice of termination was ever provided.
                                      8            Honey Baked California has to order millions of dollars of branded products for
                                      9 every holiday [Dkt. 187-3, Dec. of R. Gore, ¶ 46] and has 36 Honey Baked stores in
                                     10 California that require re-investment and renovation. The Franchise Relations Act sets
                                     11 up a specific notice mechanism that allows a franchisee to know where it stands on
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                                     12 defaults and cure rights at all times. If a ruling on termination is deferred, Honey Baked
                                     13 California must operate with the knowledge that if its franchise is terminated at trial, it
                                     14 will immediately lose the right to sell any inventory branded with the Honey Baked
                                     15 brand. Honey Baked USA admittedly failed to provide the notice required by the
                                     16 CFRA, making the franchise termination issue ripe for immediate resolution and
                                     17 eliminating weeks of unnecessary trial testimony.
                                     18 II.       Second Amended Complaint Counts I, II, and III (“Collateral Rights”)
                                     19            The Tentative concludes that, as a matter of law, Honey Baked USA has the right
                                     20 to license other licensees to sell to unsolicited customers in California. [p. 9.] This
                                     21 interpretation appears to be based on an assumption that the right of the “Licensee” to
                                     22 sell to customers in California by Mail Order is a right granted to all Honey Baked
                                     23 licensees. “Licensee,” however is defined in the first sentence of the License Agreement
                                     24 (“Agreement”) to mean “HONEY BAKED HAM, INC., a California corporation,” the
                                     25 legal name of Honey Baked California. [Dkt. 187-5, Ex. 1, p. 11.]
                                     26            Section 2(a) says that the Licensee may engage in Mail Order Transactions outside
                                     27 of California, but only “to the extent permitted in Section 6(b)(xi).” Section 2(b)(i),
                                     28 “Licensor’s Reserved Rights, Rights Retained,” says that the Licensor retains the right to
                                          USA.604335669.5/J9L                          2
                                                                HONEY BAKED HAM INC.’S REQUEST FOR ORAL ARGUMENT
                                  Case 8:19-cv-01528-JVS-DFM Document 201 Filed 10/19/21 Page 4 of 6 Page ID #:8928



                                      1 “authorize Mail Order Transactions to customers located outside of the Territory and to
                                      2 the extent permitted in section 6(b)(xi), to customers located inside the Territory. . . .” (Emphasis
                                      3 added). Sections 2(a) and 2(b) provide that the right of the Licensor and the Licensee
                                      4 would be spelled out in § 6(b)(xi).
                                      5            In the final version of § 6(b)(xi), the right stated is for the Licensee—defined as
                                      6 Honey Baked California—and established only a right to sell outside of “the Territory.”
                                      7 “Territory shall mean the entire state of California.” [Dkt. 187-5, Ex. 1, § 1(d).] The
                                      8 express right of the Licensee, Honey Baked California, to sell outside of the Territory—
                                      9 the state of California—is not a grant to Honey Baked USA or anyone else to sell by
                                     10 Mail Order inside the exclusive California territory. The only right to sell outside of an
                                     11 assigned territory that appears in § 6(b)(xi) is the right of one specific Licensee to sell
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                                     12 outside of California. It is further undisputed that Honey Baked California is the only
                                     13 Honey Baked licensee. [See Resp. to UF # 117, Dkt. 194-1 at p. 43.]
                                     14            The clever use of the made-up phrase “collateral rights,” which appears nowhere
                                     15 in the Agreement, suggests some sort of implied reciprocal right, but the right of one
                                     16 specific Licensee, Honey Baked California, to sell outside of California, ought not to give
                                     17 rise to some sort of implied right for Honey Baked USA or anyone else to sell by Mail
                                     18 Order inside of the exclusive California territory. Section 6(b)(xi) does not state the right
                                     19 of anyone to make Mail Order Transactions “inside the Territory.” The Licensor’s right
                                     20 to make Mail Order Transactions inside California to the extent permitted in § 6(b)(xi),
                                     21 is no right at all, because § 6(b)(xi) creates no right to sell inside California.
                                     22            As the Tentative states, the Court “must provisionally receive extrinsic evidence
                                     23 regarding the meaning of the contract,” to determine if a contract is “‘reasonably
                                     24 susceptible’ to different meanings.” [p. 9, citing Curry v. Moody, 40 Cal. App. 4th 1547,
                                     25 1552 (1995).] Honey Baked USA asked the Court to consider extrinsic evidence in the
                                     26 form of a draft of the Agreement. [Dkt. 194-8, Decl. of D. Mayberry, Ex. FF at 505.]
                                     27 That draft shows why there is no right at all for the Licensor to authorize Mail Order
                                     28 Sales in California. In the proposed draft of § 6(b)(xi), the Licensor would have had the
                                          USA.604335669.5/J9L                          3
                                                                HONEY BAKED HAM INC.’S REQUEST FOR ORAL ARGUMENT
                                  Case 8:19-cv-01528-JVS-DFM Document 201 Filed 10/19/21 Page 5 of 6 Page ID #:8929



                                      1 express right to “make sales . . . in response to unsolicited orders from consumers
                                      2 or orders placed by existing customers located within the Territory .” [UF 143
                                      3 (emphasis added).] Had that provision remained in the Agreement, summary judgment
                                      4 would be warranted in favor of Honey Baked USA. But in the redline, this express
                                      5 right was deleted from § 6(b)(xi). The term “Limited Exclusive License” was changed to
                                      6 “Exclusive License” in the final version of the Agreement. [UF 175 (emphasis added).]
                                      7 This extrinsic evidence confirms that Honey Baked USA gave up any “collateral right”
                                      8 to sell into California. At a minimum, this extrinsic evidence shows that the Agreement
                                      9 is “reasonably susceptible” to the interpretation that Honey Baked USA has no
                                     10 collateral right to sell by Mail Order into the Territory.
                                     11 III.      Counterclaim Counts V, VIII and X (Domain Name)
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                                     12            The Agreement allows Honey Baked California to use “the Proprietary Marks
                                     13 only at a domain name approved in writing by Licensor.” [Ex. 1 § 6(c)(iv).] On May
                                     14 24, 2010, the Licensor gave written approval, when it wrote “to clarify that Licensees are
                                     15 licensed to use HONEYBAKED domain names,” identifying shophoneybaked.com and
                                     16 hbhca.com as Honey Baked California’s domain names. [UF 91, 92 (emphasis added).]
                                     17            In a Declaration submitted on the Preliminary Injunction, Ms. van Rees stated,
                                     18 “HBH has made it clear to Plaintiff that it can continue to operate its own website and
                                     19 online catalog at shophoneybaked.com and that HBH would not interfere with its right
                                     20 to operate online.” [UF 228 (emphasis added).] This post-contract confirmation that
                                     21 shophoneybaked.com was owned by the Licensee and that Honey Baked USA had
                                     22 reassured it that nothing would be done to interfere with the use of that website
                                     23 provides extrinsic evidence that the contract provisions on preapproved domains are
                                     24 “reasonably susceptible’ to different meanings.”
                                     25            Honey Baked USA may have a right to administer an orderly system, but there is
                                     26 now only one licensee, so that its rules are stated as rules for Honey Baked California
                                     27 alone. [UF 114, 117.] The new rule was made in the midst of contentious litigation and
                                     28 no showing has been made why ownership of a duly licensed domain name is necessary
                                          USA.604335669.5/J9L                          4
                                                                HONEY BAKED HAM INC.’S REQUEST FOR ORAL ARGUMENT
                                  Case 8:19-cv-01528-JVS-DFM Document 201 Filed 10/19/21 Page 6 of 6 Page ID #:8930



                                      1 for an orderly system. System rules cannot impose “conditions by which a franchisor
                                      2 might extort its own profit at the expense of the profits of the franchisee.” Huang v.
                                      3 Holiday Inns, Inc., 594 F.Supp. 352, 299 (C.D. Cal. 1984).
                                      4            The Tentative points to a failure to show why “being required to use the domain
                                      5 ca.honeybaked.com instead would materially undermine [Honey Baked California’s]
                                      6 fundamental right to engage in Mail Order Transactions.” [Tentative, at p. 17.] The
                                      7 shophoneybaked.com domain name has been used with customers since 2004; its loss
                                      8 would cause substantial harm to Honey Baked California. Half of Honey Baked
                                      9 California’s Internet sales come directly from shophoneybaked.com, and not as referrals
                                     10 from Honey Baked USA’s website. [Dkt. 193-4, Dec. of R. Gore, ¶ 26.] Loss of the
                                     11 shophoneybaked.com domain would deprive Honey Baked California of $3.9 million in
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                                     12 annual sales. [Dkt. 193-12, Ex. 48 at p. 904.] That loss should create a triable issue of
                                     13 fact as to whether loss of the domain name undermines the fundamental right to
                                     14 Internet Sales. There is no harm to Honey Baked USA because, on termination of the
                                     15 franchise, domain names must be assigned to the Licensor or cancelled under §
                                     16 13(c)(iii). Given the written approvals to use the domain name and the assurance in a
                                     17 sworn declaration that Honey Baked USA would never do anything to interfere with
                                     18 the use of the shophoneybaked.com domain name, the issue should be determined by
                                     19 the jury.
                                     20
                                          Dated: October 19, 2021                Respectfully submitted,
                                     21                                          BRYAN CAVE LEIGHTON PAISNER LLP
                                     22                                          By: /s/ Jonathan Solish
                                     23                                          Jonathan Solish
                                                                                 Attorneys for Plaintiff
                                     24                                          HONEY BAKED HAM INC.
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                                          USA.604335669.5/J9L                          5
                                                                HONEY BAKED HAM INC.’S REQUEST FOR ORAL ARGUMENT
